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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                          )
                                                   )           8:11CR386
                     Plaintiff,                    )
                                                   )
       vs.                                         )              ORDER
                                                   )
IBRAHIM Z. MATARI and                              )
CRYSTAL L. FOSTER,                                 )
                                                   )
                     Defendants.                   )
       This matter is before the court on the motion to continue by defendant Crystal L.
Foster (Foster) (Filing No. 52). Foster seeks a continuance of the trial of this matter which
is scheduled for November 5, 2012. Foster has filed an affidavit wherein Foster represents
that she consents to the motion and acknowledges she understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 53). Foster’s
counsel represents that all counsel of record have no objection to the motion. Upon
consideration, the motion will be granted.


       IT IS ORDERED:
       1.     Foster's motion to continue trial (Filing No. 52) is granted.
       2.     Trial of this matter is re-scheduled for November 26, 2012, as to all
defendants before Judge Joseph F. Bataillon and a jury. The ends of justice have been
served by granting such motion and outweigh the interests of the public and the defendants
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e.,
the time between September 21, 2012, and November 26, 2012, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that defendants' counsel require additional time to adequately prepare the
case. The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C.
§ 3161(h)(7)(A) & (B).
       DATED this 21st day of September, 2012.
                                                   BY THE COURT:
                                                   s/ Thomas D. Thalken
                                                   United States Magistrate Judge
